                      Case 4:11-cr-00210-JM                 Document 371             Filed 02/06/15           Page 1 of 10
A0245B        (Rev. 09/11) Judgment in a Criminal Case
                                                                                                                             FILED
                                                                                                                         U.S. DISTRICT COURT
                                                                                                                     EASTERN DISTRICT ARKANSAS
              Sheet 1



                                          UNITED STATES DISTRICT COURTJAMES
                                                           Eastern District of Arkansas             By:_'f-7""1~~+--~'-=~,,......,=
                                                                       )
             UNITED STATES OF AMERICA                                  )      JUDGMENT IN A CRIMINAL CASE
                                  v.                                   )
                   DEMETRIUS COLBERT                                   )
                                                                       )      Case Number: 4:11cr00210-01 JM
                      a/k/a D-Coop
                                                                       )      USM Number: 25282-009
                                                                       )
                                                                       )       R. Brannon Sloan Jr.
                                                                                 Defendant's Attorney
THE DEFENDANT:
D pleaded guilty to count(s)

D pleaded nolo contendere to count(s)
  which was accepted by the court.
flwas found guilty on count(s)            1, 4, 5, 21, 22, & 23 of Indictment
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended
21USC§846,                         Conspiracy to Distribute or Possess with Intent to Distribute             10/1 /2011                  1

 21 USC§ 841 (a)(1 )(A)            Controlled Substances (Cocaine and Cocaine Base)

 21 USC § 841 (a)(1)

       The defendant is sentenced as provided in pages 2 through           __7_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

DCount(s)                                                Dis       Dare dismissed on the motion of the United States.
               -----------~



         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                           2/5/2015




                                                                           James M. Moody Jr.                             US District Judge
                                                                          Name and Title of Judge



                                                                          "'· z r c,f f6
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet lA
                                                                                             Judgment-Page         of _ _ __
DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4: 11cr00210-01 JM

                                          ADDITIONAL COUNTS OF CONVICTION
Title & Section                 Nature of Offense                                       Offense Ended         Count
21 USC § 843(b)                  Use of Communication Facility in Furtherance of Drug    3/15/2011             4

                                 Trafficking Crime

21 USC § 843(b)                  Use of Communication Facility in Furtherance of Drug    5/2/2011              5

                                 Trafficking Crime

18 USC§ 922(g)(1)                Felon in Possession of a Firearm                        10/11/2011            21

18 USC § 924(a)(2)

18USC§111(b)                     Assaulting a Federal Officer with a Dangerous or        10/11/2011            22

                                 Deadly weapon

18 USC §924(c)(1 )(A)(iii)       Possession and Discharge of a Firearm in Connection     10/11/2011            23

                                 with a Drug Trafficking Crime
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AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                     Judgment - Page _ 3 _ o f   7
DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4:11cr00210-01 JM


                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
 LIFE on Count 1; Four (4) years on Count 4; Four (4) years on Count 5; Ten (10) years on Count 21; Twenty (20) years on
 Count 22; Counts 1, 4, 5, 21, & 22 to run concurrent. Ten (10) years on Count 23 to run consecutive with Counts 1, 4, 5, 21,
 and 22.


    ill' The court makes the following recommendations to the Bureau of Prisons:
  Defendant shall participate in residential substance abuse treatment and educational and vocational programs during
  incarceration.


    ilf' The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
          D at                                                D p.m.       on

          D as notified by the United States Marshal.

    D     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                              DEPUTY UNITED STATES MARSHAL
                          Case 4:11-cr-00210-JM               Document 371             Filed 02/06/15          Page 4 of 10
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release
                                                                                                            Judgment-Page        4
                                                                                                                            --'-----   0f        7
DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4:11cr00210-01 JM
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 Ten (1 O) years supervised release on Count 1, One (1) year on each of Counts 4, 5, 21, and 22, and two (2) years on Count
 23, with all Counts being concurrent for a total of ten (10) years supervised release.
        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully pqssess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act ( 42 U.S.C. § 16901, et seq.)
 D        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
          works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment im~ses a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDIDONS OF SUPERVISION
     1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any J>ersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall J>ermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observea in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and

  13)       as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
            record or £ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3A- Supervised Release
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DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4: 11cr00210-01 JM

                                    ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. Further, the defendant
 shall abstain from the use of alcohol throughout the course of treatment.
                      Case 4:11-cr-00210-JM                    Document 371         Filed 02/06/15            Page 6 of 10
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                                     6_ of
                                                                                                    Judgment- Page _ _                   7
DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4:11cr00210-01 JM
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                       Fine                                  Restitution
TOTALS             $ 600.00                                          $ 0.00                                 $ 3,284.92


D The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 ~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proQortioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664lJ), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                                            Total Loss*          Restitution Ordered Priority or Percentage
  FBIHQ                                                                        $1,811.46                    $1,811.46
  UT MEDICAL GROUP, INC.                                                         $193.02                     $193.02
  NOWCARE PHYSICIANS PC                                                          $225.00                     $225.00
  REGIONAL MEDICAL CENTER OF MFS                                               $1,055.44                    $1,055.44
                                                                                                        /




 TOTALS                              $ _ _ _ _ _3_,2_8_4._9_2               $_ _ _ _ _3_,2_84_.9_2_


 D    Restitution amount ordered pursuant to plea agreement $

 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ~ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      r;/ the interest requirement is waived for the           D fine   ~ restitution.
      D the interest requirement for the              D fine    D restitution is modified as follows:


 * Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 foroffenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                           Judgment - Page _   _,_7_ of           7
DEFENDANT: DEMETRIUS COLBERT a/k/a D-Coop
CASE NUMBER: 4:11cr00210-01 JM


                                                       SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     rJ/ Lump sum payment of$ _6_0_0_._0_0____ due immediately, balance due
           D     not later than                                   , or
           D     in accordance           D C,         D D,   D      E, or     D Fbelow; or
B     D Payment to begin immediately (may be combined with                  D C,      D D, or      D F below); or
C     D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                             over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                          over a period of
          _ _ _ _ _ (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E     D    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monet!ll)' penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 rJ/ The defendant shall forfeit the defendant's interest in the following property to the United States:
       (See attached Final Order of Forfeiture [DE# 359] dated 12/5/2014)



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                             IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                     No. 4:11CR00210-01 JM

DEMETRIUS COLBERT, aka D-COOP

                                 FINAL ORDER OF FORFEITURE

       Before the Court is the United States motion for final order of forfeiture (Dkt. 358). On

July 9, 2014, this Court entered a Preliminary Order of Forfeiture, ordering Defendant to forfeit

his interest in the following:

                A. a Glock model .35, .40 caliber pistol, serial number PBP842;

                B. Approximately $283,735 in United States Currency;

                C. Approximately $140,784 in United States Currency;

                D. Jewelry valued at approximately $32,750, including but not limited to:

                        i.       One diamond and stainless steel Avianne and Company watch,

                                 encrusted with more than 488 diamonds, estimated to weigh in

                                 excess of 30 carats;

                        11.      One pair diamond earrings, set with 7 round brilliant cut diamonds

                                 in each;

                        m.       One diamond and 14 karat white gold bracelet, set with

                                 approximately 40 carats of princess cut and round brilliant cut

                                 diamonds, made by Avianne and Company;

                        iv.      One 14 karat white gold and diamond cross, estimated to weigh at

                                 least 20 carats;
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                        v.      One diamond and 14 karat white gold necklace, estimated weight

                                more than 22 carats;

                        vi.     One 14 karat white gold and diamond ring, with a total weight in

                                excess of 10 carats; and

                        v11.    One 14 karat white gold and diamond ring, estimated to weigh at

                                least 1.50 carats.

("collectively property subject to forfeiture").

        The United States published notice of this forfeiture and the United States' intent to

dispose of the property in accordance with the law as specified in the Preliminary Order. See

Notice of Publication (Dkt. 357). The United States posted its notice on the forfeiture website,

internet address of www.forfeiture.gov for 30 consecutive days beginning on July 11, 2014 and

ending on August 9, 2014. Further, the United States also made reasonable efforts to identify

and give direct notice of this forfeiture to all persons who reasonably appear to have standing to

contest this forfeiture in an ancillary proceeding, but no such person was identified. No one has

filed a claim to the property subject to forfeiture, and the time for filing claims has expired.

        Now the United States petitions the Court to enter a Final Order of Forfeiture, which will

vest all right, title, and interest in the United States. The United States also asks this Court to

authorize the United States Marshal or his designee to dispose of the property according to law.

        It is hereby ordered that the property subject to forfeiture is forfeited to the United States.

It is further ordered that all right, title, and interest in the property subject to forfeiture is hereby

vested in the United States of America and shall be disposed of according to law. This Court

shall retain jurisdiction in the case for the purpose of enforcing this Order.




                                                     2
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IT IS SO ORDERED this 5th day of December 2014.




                                m~l)~                    MOODY, JR.
                                United States District Judge




                                   3
